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                               Exhibit 86



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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                                                                          Page 275
                 UNITED STATES DISTRICT COURT

              FOR THE DISTRICT OF MASSACHUSETTS

   - - - - - - - - - - - - - - - -

   IN RE:    PHARMACEUTICAL           ) MDL NO. 1456

   INDUSTRY AVERAGE WHOLESALE         ) CIVIL ACTION

   PRICE LITIGATION                   ) 01-CV-12257-PBS

   THIS DOCUMENT RELATES TO           )

   U.S. ex rel. Ven-a-Care of         ) Judge Patti B.

   the Florida Keys, Inc.             ) Saris

        v.                            ) Chief Magistrate

   Abbott Laboratories, Inc.,         ) Judge Marianne B.

   No. 06-CV-11337-PBS                ) Bowler

   - - - - - - - - - - - - - - - -

            (captions continue on following pages)




            Videotaped deposition of Kathleen Buto

                          Volume II



                        Washington, D.C.

                  Thursday, September 13, 2007

                           9:00 a.m.




                         Henderson Legal Services
                               202-220-4158

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                                                Page 276                                                      Page 278
 1            IN THE CIRCUIT COURT OF            1        IN THE COURT OF COMMON PLEAS
 2           MONTGOMERY COUNTY, ALABAMA          2          FIFTH JUDICIAL CIRCUIT
 3   ----------------                            3 ------------------
 4   STATE OF ALABAMA,                )          4 STATE OF SOUTH CAROLINA, and             ) STATE OF
 5           Plaintiff,    ) Case No.            5 HENRY D. McMASTER, in his official ) SOUTH CAROLINA
 6       vs.             ) CV-05-219             6 capacity as Attorney General for ) COUNTY OF
 7   ABBOTT LABORATORIES, INC., ) Judge Charles 7 the State of South Carolina,    ) RICHLAND
 8   et al.,             ) Price                 8        Plaintiffs,      )
 9           Defendants.      )                  9    vs.                ) Civil Action No.
10   ----------------                           10 WARRICK     PHARMACEUTICALS               ) 2006-CP-40-4390
11                                                         11   CORPORATION, et al.,              ) 2006-CP-40-4399
12                                                         12           Defendants.        )
13         STATE OF WISCONSIN CIRCUIT COURT                13   ------------------
14               DANE COUNTY                               14   STATE OF SOUTH CAROLINA, and                ) STATE OF
15   ----------------                                      15   HENRY D. McMASTER, in his official ) SOUTH CAROLINA
16   STATE OF WISCONSIN,            )                      16   capacity as Attorney General for ) COUNTY OF
17          Plaintiff,    )                                17   the State of South Carolina,   ) RICHLAND
18     vs.              ) CASE NO.                         18           Plaintiffs,      )
19   AMGEN INC., et al.,       ) 04-CV-1709                19      vs.                 ) Case No.
20          Defendants.     )                              20   ABBOTT LABORATORIES, INC.                 ) 2006-CP-40-4394
21   ----------------                                      21           Defendant.         )
22                                                         22   ------------------
                                                Page 277                                                      Page 279
 1         UNITED STATES DISTRICT COURT                     1           IN THE COURT OF COMMON PLEAS
 2         DISTRICT OF MASSACHUSETTS                        2             FIFTH JUDICIAL CIRCUIT
 3   ------------------                                     3   ------------------
 4   THE COMMONWEALTH OF MASSACHUSETTS, )                   4   STATE OF SOUTH CAROLINA, and                ) STATE OF
 5         Plaintiff,    )                                  5   HENRY D. McMASTER, in his official ) SOUTH CAROLINA
 6     vs.             ) Civil Action No.                   6   capacity as Attorney General for ) COUNTY OF
 7   MYLAN LABORATORIES, INC., et al. ) 03-CV-11865-PBS     7   the State of South Carolina,     ) RICHLAND
 8         Defendants.     )                                8           Plaintiffs,       )
 9   ------------------                                     9      vs.                 ) Civil Action No.
10                                                         10   PAR PHARMACEUTICALS COMPANIES, ) 2006-CP-40-7151
11           SUPERIOR COURT OF NEW JERSEY                  11   INC.,                    ) 2006-CP-40-7153
12                 UNION COUNTY                            12           Defendant.          )
13   -----------------                                     13   ------------------
14   CLIFFSIDE NURSING HOME, INC., on )                    14   STATE OF SOUTH CAROLINA, and                ) STATE OF
15   behalf of itself and all others )                     15   HENRY D. McMASTER, in his official ) SOUTH CAROLINA
16   similarly situated, as defined )                      16   capacity as Attorney General for ) COUNTY OF
17   herein,                   ) LAW DIVISION              17   the State of South Carolina,     ) RICHLAND
18           Plaintiffs,        ) DOCKET NO.               18           Plaintiffs,       )
19      vs.                  ) UNN-L-2329-04               19      vs.                 ) Civil Action No.
20   DEY, INC., et al.,             )                      20   MYLAN LABORATORIES INC.                   ) 2007-CP-40-0282
21           Defendants.          )                        21           Defendant.          ) 2007-CP-40-0283
22   -----------------                                     22   ------------------

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                                             Page 296                                                  Page 298
 1   a series of related correspondence that we looked    1   if that was your question.
 2   at yesterday relating to your response to Mr.        2       Q. But he had informed you of an instance
 3   Rosen who had been advised by the medical            3   where the charge could be sometimes two to four
 4   director of a carrier about some questions on        4   times greater, correct?
 5   whether or not physicians could profit from the      5       A. He had informed me in his memo. Now, I
 6   resale of drugs and they administered, correct?      6   think this was his informing me of something he
 7       A. Right. Yes.                                   7   learned from someone else, Dr. Deutche, in New
 8       Q. And I believe this is the document            8   York.
 9   yesterday that you stated that you didn't answer     9       Q. That's my understanding.
10   the question that the medical director had posed,   10       A. So just to be clear, he was informing
11   which was are physicians allowed to profit on the   11   me of something someone was informing him of.
12   drugs that they administer?                         12              (Exhibit Abbott 302 was marked for
13       A. That's correct.                              13   identification.)
14       Q. Would you agree with me that HCFA was        14   BY MR. TORBORG:
15   aware that physicians were profiting from drugs?    15       Q. For the record, what I've marked as
16       A. You know, I'll be totally transparent        16   Exhibit Abbott 302 is a copy of a privilege log
17   with you. I don't think we thought of it as         17   that the government has provided to us in this
18   profit. We understood that we were overpaying,      18   litigation. I'd ask if you would flip, please, to
19   if you will, for the drug in relation to their      19   page 35 of 42. Do you see the numbers at the
20   cost. I don't think we thought of that as profit,   20   very bottom of the page?
21   but in fact I know that's the way others look at    21       A. Mm-hmm. (Witness complies.)
22   it. We thought of it as an overpayment.             22       Q. Specifically, if you go to the fifth
                                             Page 297                                                  Page 299
 1       Q. And you knew that some physicians were        1   item down, HHC 906- -- I'm sorry. Seventh item
 2   charging at least two to four times the amount of    2   down. HHC 906-01660171. Is that the same Bates
 3   the drug; is that right?                             3   number as the document that we've looked at as
 4       A. I didn't personally know that. I              4   Exhibit Abbott 295?
 5   assumed that in our staff there may be people who    5      A. Let's see. You're asking me whether
 6   focused on what some physicians were doing. I        6   the fifth item down is the same -- sixth item
 7   just really knew the aggregate numbers.              7   down?
 8       Q. If we look at Bates page 168 of the           8      Q. The same Bates number. Seventh item
 9   Exhibit Abbott 295, this is Mr. Rosen's              9   down.
10   memorandum dated November 8th 1992.                 10      A. Seventh item down -- is the same -- it
11       A. Mm-hmm.                                      11   doesn't appear to be the same because it's from
12       Q. And in the third paragraph you wrote         12   Chicago, not New York. Is that --
13   "Dr. Deutsch has noticed that physicians are        13      Q. I think we're looking at the wrong one.
14   billing beneficiaries an amount much higher than    14   Maybe I've given you the wrong number. One, two,
15   the actual cost of the drugs or biologicals. The    15   three, four, five, six, seven. I'm looking -- it
16   charge is sometimes two to four times greater       16   has a title Request for Guidance.
17   than the amount paid to the supplier for the drug   17      A. Yes. Dated June 13th 1991.
18   or biological."                                     18      Q. Yes. If you look at the Bates number
19       A. Right. Like I say, that was from the         19   on the left side, HHC 906 --
20   carrier operations branch chief in New York. We     20      A. Yeah.
21   didn't dispute that, but I didn't personally know   21      Q. -- does that correspond with the Bates
22   what the charges were for individual physicians,    22   number on Exhibit Abbott 295?
                                                                                7 (Pages 296 to 299)
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                                            Page 300                                                  Page 302
 1      A. It corresponds. But the document is           1   remembers anything in this document that was
 2   not the same document. One is from the regional     2   redacted on page 170. Yes or no.
 3   office in Chicago and the other is from the         3          MR. DRAYCOTT: Objection. I just don't
 4   regional office in New York. At least the one I     4   know -- I think you have to have a foundation as
 5   have here.                                          5   to whether or not she remembers the content of
 6      Q. That may well be a typo.                      6   the original document. I mean, I think it's a
 7      A. And the date -- yeah. I don't know.           7   tough question.
 8   I'm just telling you that it says associate         8          MR. TORBORG: I think we talked about
 9   regional administrator region 5 Chicago.            9   that yesterday. I think she did say she recalled
10      Q. Okay.                                        10   this correspondence after reading thing it.
11      A. So --                                        11          THE WITNESS: Yes. After reading. Do
12      Q. Does the column on the left that has         12   I remember if anything has been redacted? No.
13   the Bates number and indicates redacted portions   13   Or do I even know. Had I seen this particular
14   on 170, if you would go to that page of Abbott     14   document before yesterday? I don't remember
15   exhibit --                                         15   seeing it before yesterday but I recall the issue
16      A. On that page of this document?               16   and the documents as a total in the issue. But
17      Q. Yeah, of Exhibit Abbott 295. Do you          17   could I speak to whether anything was redacted
18   recall anything else of interest being in this     18   here, I can't.
19   document?                                          19   BY MR. TORBORG:
20      A. You're assuming these are the same           20       Q. And what was the issue again that you
21   document, I assume.                                21   recalled?
22      Q. I am assuming that, yes.                     22       A. Well, this question that came up about
                                            Page 301                                                  Page 303
 1      A. I don't recall anything else. Again, I       1    whether or not the limiting charges for drugs and
 2   think -- so I'm trying to figure out whether       2    biologicals, how those applied in the context of
 3   they're the same. I mean, I guess I'm wondering    3    physician payments and whether beneficiaries
 4   are they really the same documents. But you have   4    would be, you know, liable for sort of unlimited
 5   the same document number, so it would be. But      5    additional charges for physicians who don't
 6   you've got the letter -- so can I just ask,        6    accept assignment.
 7   because I didn't put this list together, these     7       Q. And the question that Mr. Deutsch
 8   were the same documents?                           8    finished his letter or asked in the first page of
 9          MR. DRAYCOTT: I'm in the same place         9    his document is whether physicians were permitted
10   where Mr. Torborg is. I'm looking at the Bates    10    to profit on drugs, correct?
11   number at the bottom of the document and I'm      11       A. That's right. That was his question.
12   looking at the Bates number on the privilege log. 12       Q. I'd like to ask you to take out Exhibit
13   So I'm assuming that they're the same going just  13    Abbott 301, which is the November 25th final
14   from the Bates number.                            14    rule, November 25th 1991 final rule.
15          THE WITNESS: Uh-huh. Okay. But he's        15    Specifically it has the page number 56 in the
16   asking me --                                      16    upper right-hand corner.
17      A. You're asking me about 170.                 17       A. Okay.
18          MR. DRAYCOTT: You're asking whether or 18           Q. Do you recall testifying about
19   not the witness agrees that the document          19    yesterday HCFA originally proposed reimbursing
20   referenced on the log is the same as the Exhibit  20    for drugs incident to a physician service at 85
21   Abbott 295?                                       21    percent of the average wholesale price, correct?
22          MR. TORBORG: I'm asking her if she         22       A. Yes.
                                                                               8 (Pages 300 to 303)
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                                            Page 304                                                   Page 306
 1       Q. And you indicated -- and HCFA indicated       1   be based on surveys.
 2   in its rule that they received many comments on      2       Q. But if we used the average wholesale
 3   this issue, correct?                                 3   price method it would be based on what was
 4       A. Correct.                                      4   published in the Red Book, correct?
 5       Q. And subsequent to those comments HCFA         5       A. Yes. That was made clear later in one
 6   changed its rule in some ways that included          6   of the other documents, that it was based on the
 7   paying the lower of EAC, estimated acquisition       7   published. But in the -- I think in the original
 8   cost, or 100 percent of average wholesale price,     8   description they didn't refer to published.
 9   correct?                                             9       Q. Why did HCFA remove the 15 percent
10       A. Right.                                       10   discount from AWP?
11       Q. Why did HCFA change the AWP-based            11       A. Again, because HCFA was concerned that
12   formula from 85 percent of AWP to 100 percent of    12   it conveyed -- what HCFA was really after was
13   AWP?                                                13   getting an accurate reimbursement level or price
14       A. And I think they use a different             14   -- okay? -- what price should reimbursement be
15   terminology, don't they, or we did at the time.     15   set at. And the concern was that what we really
16   So they didn't seem to use the same term,           16   wanted to convey there is that we were going to
17   although later -- but why did they go from one      17   try to find out what that was.
18   proposed policy to the final policy?                18           And so the mechanism was getting or
19       Q. Yes.                                         19   conducting surveys of actual acquisition costs
20       A. Let me answer that. Based on comments        20   and that the AWP was the fallback. And actually
21   and based on a lot of concern that was raised --    21   high-volume drugs were going to be a special
22   and I think you picked out a couple of the          22   target for the surveys of actual acquisition
                                            Page 305                                                   Page 307
 1   comments, but they weren't the only ones -- that     1   costs because of the greater impact on Medicare.
 2   pointed to the fact that on the one hand HCFA        2      Q. Did some of the comments -- if we go
 3   seemed to be saying there was going to be a          3   back to page 56 of the rule, the second paragraph
 4   national -- I've forgotten what the term is --       4   on payment for drugs states "Also a number of
 5   but a national average wholesale price didn't        5   comments from the oncologists indicated that we
 6   refer to published average wholesale price. And      6   should use an add-on to cover the cost of
 7   that in describing what HCFA planned to do it was    7   breakage, wastage, shelf life limitations and
 8   clear HCFA was going to try to get accurate price    8   inventory costs associated with chemotherapy
 9   data.                                                9   agents.
10          And they went on to say if HCFA gets         10          "Some commentators also suggested that
11   accurate price data if you pay at 85 percent of     11   this add-on payment was needed to account for
12   an accurate price you're going to be                12   shortfalls in chemotherapy administration
13   systematically underpaying. So they pushed back     13   payments. Without adequate compensation,
14   on that and there was a lot of logic to their       14   commenters suggested, many physicians would
15   comment, that if you're going to pay accurately     15   performed the service in hospital outpatient
16   and then lower the price to less than a 100         16   departments at substantially higher costs.
17   percent there's an issue.                           17          "Also some commenters suggested that
18          So the compromise that was come up with      18   physicians would refuse to supply the drugs to
19   was the final rule position, which is 100           19   patients, forcing patients to purchase the drugs
20   percent. However, that would be sort of the lower   20   themselves and bring them to the physician's
21   of that or the acquisition cost and that the --     21   office to be administered. In the latter case
22   or the actual acquisition cost. And that would      22   the drugs would not be covered by Medicare since
                                                                                9 (Pages 304 to 307)
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                                           Page 308                                                 Page 310
 1   the physician did not incur any costs for the      1   response to a range of comments on an issue. So
 2   drug."                                             2   basically what the oncologists were saying was
 3          Was there any connection between the        3   this was an unfair cut.
 4   removal of the 15 percent discount on AWP to       4          Our response, we're going to go back to
 5   concerns about shortfalls in administrative        5   100 percent of AWP and for high volume drugs
 6   payments and the need to cover other costs         6   we're going to look at a methodology for going
 7   associated with the administration of drugs?       7   after actual acquisition costs. So that was
 8      A. I'm looking at -- if you'd give me a         8   believed to be a valid response to the overall
 9   couple seconds here, I'm looking at the response.  9   concerns about the cut.
10   Because I don't recall that that was the reason.  10       Q. Are HCFA's determinations and
11   But let me just look and see what we said in      11   rationales for decisions that they make or don't
12   response to that comment. (Reading).              12   make always in a published document?
13          It looks to me as if we dodged the         13       A. Well, you know, I can only speak to my
14   question. In other words, they didn't respond     14   experience. We would try to to the best of our
15   one way or the other to whether that was at a     15   ability respond to the comments that were raised.
16   reason for going to the alternative methodology.  16   It may not be every specific, but the rationale
17   And I'm sure we discussed it. As a general        17   for taking the position is what we tried to put
18   matter, not related per se to this issue, the     18   in responses to comments. So always? You know,
19   government doesn't like to pay for some things    19   I can only speak from my own experience.
20   under one mechanism that was intended for one use 20       Q. But this was a situation where the
21   and sort of overpay there in order to compensate  21   oncologists, perhaps others, had raised the issue
22   for other costs.                                  22   that the 15 percent was perhaps too much of a
                                           Page 309                                                 Page 311
 1           In reality it happens. It looks to me      1   cut. And those were concerns that you heard,
 2   as if what we decided to do is avoid that whole    2   correct?
 3   issue, but try to say, okay, here's a compromise   3      A. Right.
 4   approach that we think will address general        4      Q. And you responded to?
 5   concerns about the 85 percent but also get us      5      A. Right. In the final policy.
 6   where we want to go, which is to pay accurately    6      Q. And you would agree with me that this
 7   for drugs that Medicare is paying for. And that    7   particular regulation -- and I think you said
 8   would be the survey approach that the carriers     8   earlier by using the word "dodge" -- doesn't
 9   would use and the estimated acquisition cost or    9   exactly articulate that rationale?
10   the actual acquisition cost.                      10          MR. DRAYCOTT: Objection. You can
11       Q. You stated in your answer that you         11   answer.
12   thought you dodged the question, right?           12      A. My reason for using that word was we
13       A. Yup.                                       13   didn't directly answer the question, but we
14       Q. Is it your experience during your time     14   answered the question.
15   at HCFA that there were times when HCFA did not 15        Q. By the policy?
16   put its -- all of its rationales in its decision- 16      A. By the policy.
17   making in a published document such as a          17      Q. So the policy itself sort of
18   regulation?                                       18   demonstrated what HCFA's thinking was itself?
19       A. No, I wouldn't say that. I would say       19      A. Yes. The policy responded to the range
20   that if we thought the response and the change in 20   of comments we got, in our view.
21   the regulation addressed the concern we would     21      Q. If I could ask you to go back to
22   basically put that out there as the overall       22   Exhibit Abbott 299. That was the public comment
                                                                            10 (Pages 308 to 311)
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                                           Page 312                                                 Page 314
 1   to the proposed rule for the fee schedule that     1   continues. Was HCFA aware that the Red Book --
 2   was provided by National Medical Care. We looked 2     the difference between Red Book price and
 3   at this document a little bit yesterday and I      3   acquisition cost could be -- could vary greatly
 4   wanted to ask you some questions starting on the   4   depending on the drug?
 5   second page under general comments.                5      A. We weren't -- we were only aware of
 6          I'll read it into the record. If you        6   that based on the OIG information. One of the
 7   could follow along. National Medical Care, Inc.    7   flaws is that -- and I think we acknowledged this
 8   wrote "For reasons detailed below NMC opposes the 8    by our final policy -- we didn't have real
 9   current proposal to establish payment limites for  9   acquisition cost data. So the point of the
10   drugs furnished incident to a physician's         10   policy was to say we were going to try to get it.
11   services at 85 percent of average wholesale price 11   But I think the policy points to the fact that we
12   (AWP) as published in the Red Book."              12   knew there was a problem. We just didn't know
13          And they go on to say on the next page     13   what the dimension of the difference was.
14   "The proposal is seriously flawed in its reliance 14      Q. If we go to the sixth page under
15   upon the principle of discounted Red Book price   15   summary and conclusions, NMC wrote "The
16   as the determinant of Medicare's payment level    16   relationship between Red Book AWP and actual
17   for drugs."                                       17   purchase price is extraordinarily variable from
18          And they go on "Review of the OIG          18   drug to drug and across different classes of
19   studies of drug pricing to retail pharmacies (not 19   purchasers." Was that something that HCFA was
20   physicians' offices) relied upon by HCFA as       20   aware of, that the relationship between Red Book
21   support for this proposal reveal that the         21   AWP and actual purchase prices was
22   observed average discount of 15 percent hides     22   extraordinarily variable?
                                           Page 313                                                 Page 315
 1   drug-specific discounts ranging from 0.23 percent  1       A. Again, I don't think -- because we
 2   to 42 percent below Red Book."                     2   lacked the data ourselves, we heard that but we
 3          And do you recall if the -- let me back     3   didn't have any sense that the -- you know, the
 4   up. The 15 percent amount was something that       4   actual data. So it says actual purchase prices.
 5   came from OIG's 1984 report?                       5   We didn't have actual purchase prices.
 6       A. It came from -- yeah -- OIG surveys.        6       Q. But you had been advised that the
 7   Yeah.                                              7   differences between Red Book and actual purchase
 8       Q. And do you recall that OIG had already      8   prices were extraordinarily variable?
 9   identified a range of drug-specific discounts?     9       A. If you mean by advised that people gave
10   The discount --                                   10   us that feedback, yes. We got lots of comments -
11       A. I vaguely recall a range. I think he       11   - or we got some comments to that effect. But
12   went and looked at individual drugs.              12   what -- you know, again, people -- as a
13       Q. The next paragraph states "HCFA            13   governmental agency people make a lot of
14   acknowledges in its commentary that the Red Book 14    assertions in order to overturn a policy.
15   is simply unreliable as a real price data         15   However, we believed it was a flawed source which
16   source." Was that something that HCFA knew at the 16   is why the policy came out the way it did saying
17   time?                                             17   we wanted to collect better data.
18       A. Yes.                                       18       Q. And when you proposed reimbursing at 85
19       Q. The next sentence says "While HCFA is      19   percent of AWP in your proposed rule, HCFA knew
20   impressed by a class of drugs for which Red Book 20    there would be some drugs that it was still over-
21   AWP appears routinely to overstate real price,    21   reimbursing and some drugs that it was under-
22   albeit by greatly varying amounts" -- and it      22   reimbursing, correct?
                                                                            11 (Pages 312 to 315)
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                                             Page 316                                                 Page 318
 1          MR. DRAYCOTT: Objection.                      1      Q. Are you familiar with the concept of
 2          MR. TORBORG: We need to go off the            2   differential pricing?
 3   record.                                              3      A. Yes.
 4          THE VIDEOGRAPHER: Off the record at           4      Q. And what is that?
 5   9:42.                                                5      A. In my understanding it's the ability to
 6             (Recess).                                  6   charge -- the ability and the practice of
 7          THE VIDEOGRAPHER: On the record at            7   charging differential prices depending on the
 8   9:45.                                                8   nature of the customer relationship. So for
 9   BY MR. TORBORG:                                      9   example a high volume customer might get a better
10      Q. Apologies for that, Ms. Buto.                 10   deal than a smaller, low volume customer, would
11      A. No problem.                                   11   be an example of it.
12      Q. Before we had to go off the record, I         12      Q. And that was something that HCFA had to
13   asked the question.                                 13   consider in forming its reimbursement policy; is
14             (Whereupon, the requested portion         14   that right?
15   was read by the reporter.)                          15      A. Well, actually no. And I should just
16          MR. DRAYCOTT: Objection, you may             16   say that my understanding of differential pricing
17   answer.                                             17   really came after I left the government. We in
18      A. As I said, the basis for our going with       18   HCFA -- it's hard for me to convey this. But the
19   85 percent was the OIG's survey. And the OIG        19   government is most concerned about overusing or
20   survey as I recall did show that there was a        20   overpaying based on its responsibilities as a
21   variation or variance in the relationship between   21   steward of taxpayer dollars. So the focus is
22   AWP and actual acquisition cost for some drugs.     22   always on are we overpaying based on what we know
                                             Page 317                                                 Page 319
 1   So we knew there was a variance. But that was      1     we should be paying. And in many cases the
 2   really based on a sample or a selected survey      2     knowledge is not perfect.
 3   that the OIG did.                                  3            So that's different than coming at it
 4          We didn't have our own independent data     4     from the standpoint of we're a marketplace
 5   because we didn't collect data on acquisition      5     player. Let's recognize certain attributes of the
 6   costs. So we didn't know what the difference       6     market. That's not the way government regulators
 7   was, and that's what led to the final policy.      7     look at these things.
 8       Q. And NMC in their comments also refers       8        Q. But you would agree with me that HCFA
 9   to the fact that the relationship between AWP and  9     was advised at least by virtue of this comment
10   Red Book in purchase prices could vary across     10     that there was extraordinarily variable prices
11   different classes of purchasers?                  11     for drugs across different classes of purchasers?
12       A. They do in their comments, yes.            12            MR. DRAYCOTT: Objection. You may
13       Q. And is that something that HCFA was        13     answer.
14   aware of?                                         14        A. I don't -- this comment talks about
15          MR. DRAYCOTT: Objection. And you may 15           different classes of purchasers. I'd have to go
16   answer.                                           16     find that. Can you point me to that language?
17       A. Again, because we didn't have our own      17        Q. Number 1 on page 6. "The relationship
18   data we believed based on the OIG survey that     18     between Red Book AWP and actual purchase price is
19   there was a variance, but we didn't have any way  19     extraordinarily variable from drug to drug and
20   to actually validate that, which is why the       20     across different classes of purchasers."
21   policy came out saying that we intended to do     21        A. Okay. HCFA was advised through this
22   some surveys.                                     22     comment that that was the case. But again,
                                                                              12 (Pages 316 to 319)
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